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 Matthew S. Warren (State Bar No. 230565)
 Erika H. Warren (State Bar No. 295570)
 Francesca M. S. Germinario (State Bar No. 326208)
 24-703@cases.warrenlex.com
 WARREN KASH WARREN LLP
 2261 Market Street, No. 606
 San Francisco, California, 94114
 +1 (415) 895-2940
 +1 (415) 895-2964 facsimile
 Attorneys for Defendant Discord Inc.


                                     UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
                                              SAN JOSE DIVISION

 DISPLAY TECHNOLOGIES, LLC,                )                  Case No. 5:24-cv-00703-NC
                                           )
    Plaintiff,                             )                  CORPORATE DISCLOSURE
                                           )                  STATEMENT UNDER
 v.                                        )                  FED. R. CIV. P. 7.1
                                           )
 DISCORD INC.,                             )
                                           )
    Defendant.                             )
 _________________________________________ )

          Under Federal Rule of Civil Procedure 7.1, defendant Discord Inc. states that it has no parent

 corporation, and that no publicly held corporation owns 10% or more of the company’s stock.

 Date: March 4, 2024                                   Respectfully submitted,

                                                       _______________________________________
                                                       Matthew S. Warren (State Bar No. 230565)
                                                       Erika H. Warren (State Bar No. 295570)
                                                       Francesca M. S. Germinario (State Bar No. 326208)
                                                       WARREN KASH WARREN LLP
                                                       2261 Market Street, No. 606
                                                       San Francisco, California, 94114
                                                       +1 (415) 895-2940
                                                       +1 (415) 895-2964 facsimile
                                                       24-703@cases.warrenlex.com

                                                       Attorneys for Defendant Discord Inc.




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_____________________________________________________________________________________________________________
  ___________________________________________________________________________________________________________________
                                             CORPORATE DISCLOSURE STATEMENT UNDER FED. R. CIV. P. 7.1
